






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-07-273 CR


____________________



ERIC PAUL COLEMAN, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the 252nd District Court


Jefferson County, Texas


Trial Cause No. 97604






MEMORANDUM OPINION


	Eric Paul Coleman was convicted and sentenced on an indictment for possession of
a controlled substance.  Coleman filed a notice of appeal on May 21, 2007.  The trial court
entered a certification of the defendant's right to appeal in which the court certified that this
is a plea-bargain case and the defendant has no right of appeal.  See Tex. R. App. P.
25.2(a)(2).  The trial court's certification has been provided to the Court of Appeals by the
district clerk.

	On May 31, 2007, we notified the parties that the appeal would be dismissed unless
an amended certification was filed within thirty days of the date of the notice and made a part
of the appellate record.  See Tex. R. App. P. 37.1.  The record has not been supplemented
with an amended certification.

	Because a certification that shows the defendant has the right of appeal has not been
made part of the record, the appeal must be dismissed.  See Tex. R. App. P. 25.2(d). 
Accordingly, we dismiss the appeal for want of jurisdiction.

	APPEAL DISMISSED.	

                                                    

                                                                            __________________________________

                                                                                              CHARLES KREGER

                                                                                                         Justice



Opinion Delivered July 11, 2007

Do not publish


Before Gaultney, Kreger, and Horton, JJ.


